 Case 2:24-cv-00055-SPC-NPM Document 10-2 Filed 02/05/24 Page 1 of 1 PageID 83




                       UNITED STATES DISTRICT COURT FOR
                        THE MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION
                            CASE.: 2:24-cv-00055-SPC-NPM

    Dale Ylitalo and R4 Construction,
    LLC, individually and on behalf of all
    others similarly situated,

         Plaintiffs,

    v.

    Automatic Data Processing, Inc.,
    and American Century Investments
    Services, Inc.,

         Defendant.


                       CERTIFICATION OF WILLIAM B. FEDERMAN


      William B. Federman, Esquire, pursuant to Rule 4(b) of the Rules
Governing the Admission, Practice, Peer Review, and Discipline of Attorneys,
hereby certifies that: (1) I have studied the Local Rules of the United States
District Court for the Middle District of Florida; (2) I am a member in good
standing of Oklahoma Bar Association and United States District Court Western
District of Oklahoma; and (3) I have not filed three or more motions for pro hac
vice admission in this District within the last 365 days.
